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Counsel for Cameron Wyatt

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 TREY GREENE, individually and on                 Case No. 2:23-cv-01165-KM-LDW
 behalf of all others similarly situated,

                         Plaintiff,               CERTIFICATION OF
                                                  THOMAS H. PRZYBYLOWSKI
                   v.

 ZAC PRINCE, FLORI MARQUEZ,
 TONY LAURA, JENNIFER HILL and
 GEMINI TRADING, LLC,

                         Defendants.


           I, Thomas H. Przybylowski, of full age, certifies as follows:

           1.     I am an attorney at law of the State of New Jersey, a member in good

standing of the bar of this Court, and an Associate of Pomerantz LLP, located at 600

Third Avenue, 20th Floor, New York, NY 10016, Counsel for Cameron Wyatt

("Movant") in the above-captioned matter. As such, I have personal knowledge of

the facts set forth herein.



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          2.    I make this certification in support of the application to admit pro hac

vice Jeremy A. Lieberman as Counsel for Movant.

          3.    Jeremy A. Lieberman is a Partner of Pomerantz LLP, located at 600

Third Avenue, Floor 20, New York, NY 10016.

          4.    Jeremy A. Lieberman has advised me that he is a member in good

standing of the bars set forth in Schedule A attached. He is not under suspension,

nor has he ever been suspended or disbarred from any court. Jeremy A. Lieberman

is fully familiar with the facts of this case.

          5.    There is good cause for the pro hac vice admission of Jeremy A.

Lieberman, as he is familiar with the facts, issues and pleadings in this action and no

delay in the conduct of the proceedings would be occasioned by his acting as

attorney for Movant in this matter.

         6.     Pursuant to Local Civil Rule 101. 1(c)(4), my firm will appear in this

action, including all court appearances on behalf of Movant and agree to accept

service of all notices, orders, and pleadings in this action. I or an attorney from my

firm will sign and file all pleadings, enter all appearances, sign all stipulations, and

other such documents in this matter. I agree to be responsible for the conduct of the

above-named counsel should he be admitted pro hac vice.

         7.     I will make certain that the attorney to be admitted pro hac vice in this

case will comply with Local Civil Rule 101.1 (c).



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          8.     Accordingly, I respectfully request that this Court enter an Order

admitting Jeremy A. Lieberman pro hac vice in this action.

          9.     I certify that the foregoing statements made by me are true. I am aware

that if any of the foregoing statements made by me are willfully false, I am subj ect

to punishment.


 Dated: May        t ,2023                       Respectfully submitted,

                                                 POMERANTZ LLP



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                                                 Counsel for Cameron Wyatt




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